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                             UNITED STATES DISTRICT COURT

                                     DISTRICT OF ALASKA

Disability Law Center,                     )
               Plaintiff,                  )
                                           )
                                           ) Case No.
vs.                                        )
                                           )
Matanuska-Susitna Borough School District, )
             Defendant                     )
                                           )
                                           ) Complaint


                                         JURISDICTION

1.      This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331. This is an action

brought to secure rights conferred by the Developmental Disabilities Assistance and Bill of

Rights Act of 2000 at 42 U.S.C. § 15041 et seq (DD Act).

2.      Venue is proper in this Court under 28 U.S.C. § 1391. Defendant, Matanuska-Susitna

Borough School District (MSBSD), has its principal place of business within the District of

Alaska and all of the events giving rise to this action occurred in the District of Alaska.




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                                                   PARTIES

3.       Disability Law Center of Alaska (DLC) is the federally mandated protection and

advocacy agency for the State of Alaska, established to protect the rights of individuals with

developmental disabilities.

4.       MSBSD is the school district responsible for the elementary school where the events

giving rise to this action occurred, and they are responsible for hiring, firing and disciplining its

teacher employees.

                                       FACTUAL ALLEGATIONS

5.       On or about May 22, 2006, DLC received a report of abuse by and/or involving a special

education teacher, Ms. M1, at Finger Lake Elementary School during the 2005-2006 school year.

6.       This report alleged several types of inappropriate behavior by a teacher, Ms. M,

including force-feeding of and excessive and inappropriate restraint towards elementary age

students with disabilities, at least some of whom were non-verbal.

7.       This report also alleged that as a result of these inappropriate behaviors, one parent

removed her child from the classroom before the end of the school year.

8.       After receiving this report, DLC contacted the principal of the school and requested a

copy of Finger Lake’s principal’s internal investigation into the matter and arranged a meeting

with the principal.

9.       On Thursday, August 24, 2006 a DLC investigator met with the principal and obtained

copies of various materials related to the principal’s investigation into the allegations of abuse.



1
  Given the relatively cooperative spirit of interactions thus far between MSBSD and DLC, the name of the teacher
involved has been kept confidential in this document.
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10.     After reviewing these materials, DLC determined that an investigation into the

allegations was necessary based on the severity of the conduct alleged, the potential for ongoing

abuse or neglect and the vulnerable nature of the children involved.

11.     On August 25, 2006 DLC communicated its concerns to the attorney for the school

district. In that letter DLC, requested that Ms. M be removed from the classroom during the

course of its investigation. In addition, DLC requested the directory information of the students

currently in the classroom, as well as the information of those students in the classroom for the

2005-2006 school year. DLC also requested that interviews be arranged with staff members

involved in the schools investigation of the matter, as well as an interview with the teacher.

Finally, DLC requested copies of any and all disciplinary reports, file notes, incident reports and

similar documents in the teacher’s personnel file.

12.     On August 28, 2006 the school district rejected DLC’s request to remove the teacher at

issue from the classroom stating that “discipline has been imposed”. The district also refused to

provide DLC with the requested information from the teacher’s personnel file.

13.     On or around August 29, 2006, in a telephone conversation between DLC and the

attorney for the school district, the district made references to several actions taken as a result of

the investigation into the allegations of abuse, including additional training for Ms. M, a smaller

class size and a change in classroom location.

14.     On Wednesday, August 30, 2006, a DLC investigator undertook interviews with seven

staff members. However, Ms. M refused to participate in an interview with DLC.

15.     The interviews confirmed and substantiated at least some instances of abuse towards

disabled children by Ms. M. during the 2005-2006 school year.

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16.     During the course of the interviews the DLC investigator learned that Ms. M is alone

with the non-verbal, disabled 1st and 2nd grade students in her class for at least one hour a day.

17.     On August 30, 2006 the district provided DLC with the requested directory information.

18.     On September 5, 2006, DLC requested that written confirmation of the steps taken by the

district to ensure the safety of the students be provided. DLC again requested the teacher’s

personnel file citing 45 C.F.R. §1386.22(b)(2). DLC also indicated that based on its statutory

access authority, the requested documents must be provided within a three day period from the

date of the request.

19.     As of September 12, 2006, the district has refused to provide Ms. M’s personnel file, and

has not provided DLC with written confirmation regarding the safety of the students and the

actions taken by the district as a result of the investigation.

                                   CLAIM FOR RELIEF NO. 1.

                           VIOLATION OF 45 C.F.R. § 1386.22(b)(2).


20.     Defendant MSBSD has violated the DD Act by failing to allow DLC access to any

documentation to establish the safety of the students and the personnel records of Ms. M and any

documentation outlining what measures the district took as a result of their investigation of the

allegations of abuse against her. 45 C.F.R. § 1386.22(b)(2)(ii – iii).

                                RELIEF REQUESTED

        WHEREFORE, pursuant to this Court’s authority and jurisdiction under 42 U.S.C. §

15041 et seq., DLC hereby requests that the Court:

1.      Order MSBSD to provide DLC with a full and complete copy of the personnel files of

Ms. M.
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2.      Order MSBSD to provide DLC with any documents relating to the steps they have taken

as a result of their investigation into the allegations of abuse and to ensure the safety of the

students.

3.      Attorney fees and costs for the drafting of this complaint and reasonable attorneys’ fees

and costs in the pursuit of this action.

4.      All other appropriate relief consistent with the DD Act.


Dated in Anchorage, Alaska, this 12th day of September, 2006

                                              /s Holly J. Johanknecht
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